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                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF TEXAS
                                          AUSTIN DIVISION

 Bahia Amawi,                                                       §
                                        Plaintiff,                  §
                                                                    §
 v.                                                                 §          Civil Action No. 1:18-CV-1091-RP
                                                                    §
 Pflugerville Independent School District; and                      §                     consolidated with:
 Ken Paxton, in his official capacity as                            §
 Attorney General of Texas,                                         §          Civil Action No. 1:18-CV-1100-RP
                               Defendants.                          §

                        DEFENDANT KEN PAXTON’S MOTION TO DISMISS UNDER
                            FEDERAL RULE OF CIVIL PROCEDURE 12(H)(3)

          “[A]ny set of circumstances that eliminates actual controversy after the commencement of a

lawsuit renders that action moot.” Envtl. Conservation Org. v. City of Dallas, 529 F.3d 519, 527 (5th Cir.

2008). As of May 7, 2019, there is no actual controversy between any of the five named plaintiffs in

these consolidated cases and any of the named defendants. Plaintiffs are sole proprietors who sought

prospective relief to enjoin enforcement of Chapter 2270 of the Texas Government Code. See Plaintiff

Bahia Amawi’s Complaint and Jury Demand, Doc. 1 at 9–10 (listing requests for prospective relief);

Pluecker et al. v. Paxton et al. (“Pluecker”), Case No. 1:18-cv-1100-RP, Pluecker Plaintiffs’ Complaint for

Declaratory and Injunctive Relief, Doc. 1 at 27–28 (same). The Legislature has amended Chapter 2270

such that it no longer applies to sole proprietors. Plaintiffs’ claims for injunctive relief are thus moot,

and this case should be dismissed.

                                                       BACKGROUND

I.        The Prior Version of Chapter 2270 Applied to Sole Proprietors.

          Under Chapter 2270 of the Texas Government Code, a “governmental entity may not enter

into a contract with a company for goods or services unless the contract contains a written

verification from the company that it: (1) does not boycott Israel; and (2) will not boycott Israel



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during the term of the contract.” TEX. GOV’T CODE § 2270.002. By certifying that it does not

“boycott Israel,” a company verifies that it does not refuse to deal with, terminate business activities

with, or take other actions intended to penalize, inflict economic harm on, or limit commercial

relations with Israel (or someone doing business with Israel or an Israeli-controlled territory). TEX.

GOV’T CODE § 808.001(1). A company may, however, continue to take actions “for ordinary business

purposes.” Id. Under the prior version of Chapter 2270, “companies” included sole proprietors. See

Doc. 25 at 5 (discussing the language of the then-operative provisions of Chapter 2270 and Chapter

808 of the Texas Government Code).

II.       The Current Version of Chapter 2270 Does Not Apply to Sole Proprietors.

          On January 11, 2019, Representative Phil King filed H.B. 793 in the Texas House of

Representatives, which clarifies that Chapter 2270’s certification requirement only applies to contracts

between (a) a governmental entity and a company with 10 or more full-time employees; and (2) that

have a value of $100,000 or more that is to be paid at least in part from public funds of the

governmental entity. See Ex. A, Enrolled Version of H.B. No. 793, § 2. Critically, the bill also provides

that the term “company” “does not include a sole proprietorship.” Id. § 1. House Bill 793 passed by a

vote of 105-0 in the House of Representatives and a vote of 28-3 in the Senate. See Ex. B (vote in

House recorded on April 11, 2019); Ex. C (vote in Senate recorded on May 2, 2019). Because it

received “a vote of two-thirds of all members elected to each house,” it took effect immediately upon

Governor Abbott signing the law on May 7, 2019. See Texas Legislature Online, HB 793, available at

https://capitol.texas.gov/BillLookup/History.aspx?LegSess=86R&Bill=HB793.

III.      Plaintiffs Are All Sole Proprietors.

          All of the Plaintiffs in this case are sole proprietors. See Pluecker Plaintiffs’ Reply to Paxton’s

Response to Preliminary Injunction, Doc. 40 at 2 (asserting that Pluecker Plaintiffs are sole

proprietors); Plaintiff Bahia Amawi’s Memorandum in Support of Plaintiff’s Motion for a Preliminary



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Injunction, Doc. 8-2 at 4 (“As an independent contractor who receives income in exchange for

services, Amawi is by definition a sole proprietor.”). And the evidence that Plaintiffs attached to their

respective motions for preliminary injunction indicates that the values of their contracts are far less

than $100,000. See Doc. 8-3 at 9 (stating that the total cost to Pflugerville Independent School District

for Amawi’s services would be $1,000); Pluecker, Doc. 14-4 at 10 (potential fee for Obinna Dennar of

up to $150 for judging debate tournament for Klein Independent School District); Pluecker, Doc. 14-

5 at 12 (contract between George Hale and Texas A&M Commerce not to exceed $4,800); Pluecker,

Doc. 14-6 at 10, 15, 20 (proposed contracts between University of Houston and John Pluecker for

$1,500, $1,500 and $250, respectively). No plaintiff has asserted that the contracts at issue are between

a company of 10 or more employees and a governmental entity.

                                                         ARGUMENT

          Under Federal Rule of Civil Procedure 12(h)(3), “[i]f the court determines at any time that it

lacks subject matter jurisdiction, the court must dismiss the action.” Article III provides that the

judicial power of the United States extends only to “cases and controversies.” This requirement

“subsists through all stages of federal judicial proceedings, trial and appellate. . . . The parties must

continue to have a ‘personal stake in the outcome’ of the lawsuit.” Lewis v. Continental Bank Corp., 494

U.S. 472, 477–78 (1990). “[I]t is not enough that a dispute was very much alive when the suit was filed;

. . . [t]he parties must continue to have a personal stake in the outcome of the lawsuit.” City of Dallas,

529 F.3d at 527 (citation and quotation marks omitted).

          As the Fifth Circuit has explained, mootness is “the doctrine of standing in a time frame. The

requisite personal interest that must exist at the commencement of litigation (standing) must continue

throughout its existence (mootness).” Ctr. for Individual Freedom v. Carmouche, 449 F.3d 655, 661 (5th

Cir. 2006). “Generally, any set of circumstances that eliminates actual controversy after the

commencement of a lawsuit renders that action moot.” Id.



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          This case is moot. Plaintiffs would not be able to bring suit today against Chapter 2270,

because Chapter 2270 no longer applies to them or their contracts with the defendant governmental

entities. 1 See Ex. A § 1. They therefore no longer have a “personal stake in the outcome of this
          0F




lawsuit.” City of Dallas, 529 F.3d at 527. In other words, they would lack standing to sue if they brought

a new lawsuit: their disagreements with a law that does not apply to them are insufficient to confer

standing. See, e.g., Lance v. Coffman, 549 U.S. 437, 439 (2007) (“We have consistently held that a plaintiff

raising only a generally available grievance about government—claiming only harm to his and every

citizen’s interest in proper application of the Constitution and laws, and seeking relief that no more

directly and tangibly benefits him than it does the public at large—does not state an Article III case

or controversy.” (citation and quotation marks omitted)).

          Moreover, this legislative enactment is exactly the kind of development that the Fifth Circuit

has recognized will render a case moot. “[S]tatutory changes that discontinue a challenged practice are

usually enough to render a case moot, even if the legislature possesses the power to reenact the statute

after the lawsuit is dismissed.” Fantasy Ranch Inc. v. City of Arlington, Tex., 459 F.3d 546, 564 (5th Cir.

2006) (finding that city’s amended ordinance addressed all of the issued raised by the pre-amendment

complaint, rendering the challenge to the pre-amendment ordinance moot); Gegenheimer v. Stevenson,

2017 WL 2880867, at *2 (W.D. Tex. July 5, 2017) (“Because S.B. 416 discontinues the practice

challenged by Plaintiff and offers a complete remedy for the injury at issue in this case, the Court




          1 Four of the five plaintiffs—Bahia Amawi, John Pluecker, Obinna Dennar, and Zachary Abdelhadi—refused

to sign contracts with the certification clause, and now, any future contract they might sign will not contain it (or, at a
minimum, will not contain it because of anything having to do with Chapter 2270). Doc. 1 ¶¶ 30–33; Pluecker, Doc. 1 ¶¶
37–42; 55–56; 72–73. George Hale alleged that he signed his contract with Texas A&M Commerce “under protest.”
Pluecker, Doc. 1 ¶ 92. He too lacks standing to seek an injunction prospectively because Chapter 2270 does not apply to
him on a going forward basis. See Ex. A, supra. Moreover, in light of the amendments to Chapter 2270 contained in House
Bill 793, Texas A&M Commerce has amended its contract with Hale to remove the certification required under Chapter
2270. See Ex. D.



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concludes that the State’s voluntary cessation of the challenged conduct renders Plaintiff’s action

moot. The Court therefore no longer has jurisdiction over Plaintiff’s claims.”).

          Because this action is moot based on an intervening change in law, and thus resolved with

finality, it follows that the preliminary injunction should be dissolved immediately. See Staley v. Harris

Cnty., Tex., 485 F.3d 305, 312 (5th Cir. 2007) (en banc) (explaining that courts must “look at the

equities of the individual case.”). “[T]he appeal was mooted by actions of the [Texas] legislature, which

is not a party to this suit.” Hall v. La., 884 F.3d 546, 553 (5th Cir. 2018). Accordingly, “[n]o ‘fault’ in

mooting the appeal is attributable to any of the defendants, even though some of them are officials of

the State of [Texas].” Id.

          Courts have reached this conclusion in multiple cases pertaining to preliminary injunctions in

moot cases. See, e.g., Pro-Life Cougars v. Univ. of Houston, No. 02-20868, 67 F. App’x 251, at *1 (5th Cir.

2003) (“Where, however, a decision on the merits is rendered during the appeal of a preliminary

injunction, the preliminary injunction becomes moot.”); Grano v. Barry, 733 F.2d 164, 166 (D.C. Cir.

1984) (subsequent legislative developments mooted case and required the court to “dissolve the

remaining injunction”); see also Hijar v. Burrus, 474 U.S. 1016 (1985) (ordering vacatur of injunction

when cause is moot); Wyoming v. Sierra Club, 2016 WL 3853806, at *1 (10th Cir. July 13, 2016) (vacating

preliminary injunction upon finding that the case became moot); Save Greers Ferry Lake, Inc. v. Dep’t of

Def., 255 F.3d 498, 502 (8th Cir. 2001) (similar); Wyatt By & Through Rawlins v. Rogers, 92 F.3d 1074,

1080 (11th Cir. 1996) (district court “will dissolve the preliminary injunction” when “the need for the

preliminary injunction . . . is moot”); Gilbert v. Nix, 990 F.2d 1044, 1045 (8th Cir. 1993) (similar); Ry.

Labor Executives’ Ass’n v. Pittsburgh & Lake Erie R. Co., 884 F.2d 744, 745 (3d Cir. 1989) (similar); Bass

v. Rockefeller, 464 F.2d 1300 (2d Cir. 1971) (similar).

          Indeed, when a subsequent legislative development moots an action, any preliminary

injunction enjoining enforcement of an outdated version of the law or rule at issue must be dissolved.



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See, e.g., Dearmore v. City of Garland, 2005 WL 3276384, at *1 (N.D. Tex. Nov. 30, 2005); id. at *1 n.*

(“While the court dissolves the preliminary injunction, Plaintiffs shall have the right to seek judicial

relief if the removed provision of the Ordinance is reinstated.”); see also Sw. Ctr. for Biological Diversity v.

Bartel, 409 F. App’x 143, 145 (9th Cir. 2011) (“Because the portions of the [regulation] that were the

subject of litigation in district court no longer exist, we dismiss the appeal as moot and remand to the

district court with instructions to vacate the injunction.”).

                                                        CONCLUSION

          For the reasons set forth above, General Paxton requests that the Court dismiss Plaintiffs’

claims, and that the Court vacate its preliminary injunction (Doc. 82).

                                                                 Respectfully submitted.

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                                           CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was served upon Plaintiffs’
 counsel of record through the Court’s electronic filing system on May 8, 2019.

                                                                      /s/ Michael R. Abrams
                                                                      MICHAEL R. ABRAMS




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